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18
                             UNITED STATES DISTRICT COURT
19
                                 DISTRICT OF ARIZONA
20
     VPR Brands, LP,                                    No. CV-20-02185-PHX-DJH
21
22                  Plaintiff/Counterdefendant,         JOINT NOTICE OF SETTLEMENT
23   vs.

24   Jupiter Research LLC,
25
                   Defendant/Counterclaimant.
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28
     Case 2:20-cv-02185-DJH        Document 73       Filed 04/07/23   Page 2 of 2




1           Pursuant to LRCiv 40.2(d), Plaintiff VPR Brands, LP and Defendant Jupiter Research
 2   LLC jointly notify the Court that the parties have reached a settlement in this case. The
 3   parties anticipate filing the dismissal papers under Fed. R. Civ. P. 41(a) by May 8, 2023, and
 4   ask that the Court vacate all deadlines in the scheduling order pending dismissal.
 5          DATED this 7th day of April, 2023.
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 7
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